Case 7:14-cr-00027-GEC      Document 422 Filed 08/26/16          Page 1 of 1     Pageid#:
                                      2205                             CLERKS OFFICE U.S.DIST.O UR-!
                                                                             AT ROANOG ,VA
                                                                                    FI;ED

                    IN TIIE UNITED STATES DISTRICT COURT
                                                                               ALs 2,5 2216
                   FOR TH E W ESTERN DISTRICT OF W RGINIA                    JULIAA .DUD ,W ERK
                              ROAN OKE DIV ISIO N                           BY: ê
                                                                                DD'e'av '/
UM TED STATES OF AM ERICA,                     CASE NO.7:14CR00027
                                               (CASE NO.7:16CV81162)
V.                                             FIN A L O R DER


SH ANNON M ARIE W HITE,                        By: H on.Glen E.Conrad
                                               ChiefU nited States DistrictJudge
                   D efendant.


      In accordancewith theaccompanying mem orandum opinion,itishereby

                            AD AUD GE D A ND O RD ER ED

thatdefendant'smotiontovacate,setasideorcorrectthesentence,pursuantto28U.S.C.j2255,
(SeeECF No. 417)isDISM ISSED W ITHOUT PREJUDICE and isSTRICKEN from the
active docket ofthe court;the m otion is hereby CONSTRUED as a m otion for reduction of

sentencetmder18U.S.C.j3582(c);andisDENIED.
                 hi XQ AdayofAugust
      ENTER: T     s                   ,   2016.



                                       ChiefU      ed StatesDistrictJudge
